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                          United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION



JUDGE: Sean D. Jordan

COURT REPORTER:
Gayle Wear

COURTROOM DEPUTY:
Bonnie Sanford

SHEMWELL

v.                                                          Case No. 4:20cv43

CITY OF MCKINNEY, TEXAS


PLAINTIFF: Shayan Elahi

DEFENDANT: Kent Hofmeister, Robert Brown

       This day came the parties and by their attorneys the following proceedings were
held before Judge Sean D. Jordan in Plano, Texas on 3/10/2020.

Telephone Conference

11:09 am       The Court called the case, noting the appearance of counsel and parties.

11:11 am       Court and counsel discuss scheduling matters.

11:37 am       Court adjourned.
